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 1   PHILLIP A. TALBERT
     Acting United States Attorney
 2   MATTHEW G. MORRIS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:13-CR-00086-GEB
12                   Plaintiff,
                                                          FINAL ORDER OF FORFEITURE
13          v.
14   STORMY MOLLISSA AVERS, aka STORMY
     MYERS and
15   JASON S. WYMER,
16                   Defendants.
17

18          On or about April 1, 2016 (Stormy Mollissa Avers) and May 9, 2016 (Jason S. Wymer), this

19 Court entered Preliminary Orders of Forfeiture pursuant to the provisions of 18 U.S.C. § 2253, based
20 upon the plea agreement entered into between plaintiff and defendants Stormy Mollissa Avers and

21 Jason Wymer forfeiting to the United States the following property:

22                   a. Compaq Computer, Model SR5610F, Serial Number CNX8331FCX; and
                     b. Optical discs containing child pornography.
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24          Beginning on May 21, 2016, for at least 30 consecutive days, the United States published notice

25 of the Court’s Order of Forfeiture on the official internet government forfeiture site www.forfeiture.gov.
26 Said published notice advised all third parties of their right to petition the Court within sixty (60) days

27 from the first day of publication of the notice for a hearing to adjudicate the validity of their alleged

28 legal interest in the forfeited property;
                                                          1
29                                                                                      Final Order of Forfeiture

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 1          The Court has been advised that no third party has filed a claim to the subject property, and the

 2 time for any person or entity to file a claim has expired.

 3          Accordingly, it is hereby ORDERED and ADJUDGED:

 4          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 5 right, title, and interest in the above-listed property pursuant to 18 U.S.C. § 2253, to be disposed of

 6 according to law, including all right, title, and interests of Stormy Mollissa Avers and Jason Wymer.

 7          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

 8 United States of America.
 9          3.       The U.S. Marshals Service shall maintain custody of and control over the subject

10 property until it is disposed of according to law.

11          SO ORDERED.

12 Dated: September 7, 2016

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29                                                                                         Final Order of Forfeiture

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